         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 1 of 15




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
             v.                                  :    Criminal Case No. 21-582 (CRC) :
                                                 :
MICHAEL A. SUSSMANN,                             :
                                                 :
                         Defendant.


                                 PROTECTIVE ORDER
                        PERTAINING TO CLASSIFIED INFORMATION

       This matter comes before the Court upon the United States' Consent Motion for Protective

Order Pursuant To Section 3 of the Classified Information Procedures Act. Pursuant to the authority

granted under Section 3 of CIPA, the ''Revised Security Procedures Established Pursuant to Pub.

L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for the Protection of Classified

Information" ("Security Procedures") (reprinted after CIPA § 9), Rules 16 and 57 of the Federal

Rules of Criminal Procedure, and the general supervisory powers of the Court, and to protect the

national security, the following Protective Order is entered:

       1.         The Court finds that this case will involve information that has been classified in the

interest of national security. The storage, handling, and control of this information will require

special security precautions mandated by statute, executive order, and regulation, and access to this

information requires appropriate security clearances and need-to-know, as set forth in Executive

Order 13256 (or successor order), that has been validated by the Government. 1 The purpose of this



1
  Any individual to whom classified information is disclosed pursuant to this Order shall not
disclose such information to another individual unless the U.S. agency that originated that
information has validated that the proposed recipient possesses an appropriate security clearance
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 2 of 15




Order is to establish procedures that must be followed by counsel and the parties in this case. These

procedures will apply to all pretrial, trial, post-trial, and appellate matters concerning classified

information and may be modified from time to time by further Order of the Court acting under its

inherent supervisory authority to ensure a fair and expeditious trial.

       2.      Definitions. The following definitions shall apply to this Order:

               a.      “Defense” or “Defense team” refers collectively to the Defendant,

Defendant's counsel and any support staff assisting the Defendant's counsel authorized to receive

classified information pursuant to this Order.

               b.      “Classified Information” shall include:

                       i.       Any document, recording, or information that has been classified by

any Executive Branch agency in the interests of national security pursuant to Executive Order

13526, as amended, or its predecessor or successor orders, as “CONFIDENTIAL,” “SECRET,”

“TOP    SECRET,”       or     additionally   controlled   as   “SENSITIVE    COMPARTMENTED

INFORMATION” (“SCI”);

                       ii.      Any document, recording, or information now or formerly in the

possession of a private party that (A) has been derived from information that was classified by the

United States Government, and/or (B) has been classified by the United States Government as set

forth above;

                       iii.     Verbal or other unwritten or unrecorded information known to the

Defense team that has been classified by the United States Government as set forth above;




and need-to-know.
                                                   2
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 3 of 15




                       iv.     Any information, regardless of its origin, that the Defense knows or

reasonably should know contains classified information, including information acquired or

conveyed orally; and

                       v.      Any document, recording, or information as to which the Defense has

been notified orally or in writing contains classified information.

               c.      “Document,” “materials,” and “information” shall include, but are not

limited to:

                       i.      all written, printed, visual, digital, electronic, or audible matter of any

kind, formal or informal, including originals, conforming copies, and non-conforming copies

(whether different from the original by reason of notation made on such copies or otherwise), as

well as metadata;

                       ii.     notes    (handwritten,    oral,    or   electronic);    papers;    letters;

correspondence; memoranda; reports; summaries; photographs; maps; charts; graphs; inter-office

communications; notations of any sort concerning conversations, meetings or other

communications; bulletins; teletypes; telecopies; telegrams; telexes; transcripts; cables; facsimiles;

invoices; worksheets and drafts; microfiche; microfilm; videotapes; sound recordings of any kind;

motion pictures; electronic, mechanical or electric records of any kind, including but not limited to

tapes, cassettes, disks, recordings, films, typewriter ribbons, word processing or other computer

tapes, disks, or thumb drives and all manner of electronic data processing storage; and alterations,

modifications, changes and amendments of any kind to the foregoing; and

                       iii.    information obtained orally.




                                                   3
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 4 of 15




               d.        “Access to classified information” shall mean having access to, reviewing,

reading, learning, or otherwise coming to know in any manner classified information.

               e.        “Secure Area” shall mean a sensitive compartmented information facility

(“SCIF”) approved by a designated Classified Information Security Officer (“CISO”) for the

storage, handling, and control of classified information.

                                       Classified Information

       3.      All classified documents, and classified information contained therein, shall remain

classified unless the documents bear a clear indication that they are not classified or have been

declassified by the agency or department that originated the document or information contained

therein (“originating agency”).

       4.      All access to classified information shall conform to this Order and the

Memorandum of Understanding described herein.

       5.      Any classified information provided to the Defense by the Government is to be used

solely by the Defense and solely for the purpose of preparing the defense. The Defense may not

disclose or cause to be disclosed in connection with this case any information known or reasonably

believed to be classified information except as otherwise provided herein.

       6.      Any classified information the Defense discloses to or discusses with the Defendant

in any way shall be handled in accordance with this Order and the attached Memorandum of

Understanding, including such requirements as confining all discussions, documents, and materials

to an accredited SCIF.

       7.      The Defense and the Defendant shall not disclose classified information to any

person, except to the Court, Government personnel who hold appropriate security clearances and


                                                  4
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 5 of 15




have been determined to have a need-to-know that information, and those specifically authorized

to access that information pursuant to this Order.

       8.      Information that is classified that also appears in the public domain is not thereby

automatically declassified unless it appears in the public domain as the result of an official statement

by a U.S. Government Executive Branch official who is authorized to declassify the information.

Individuals who, by virtue of this Order or any other court order, are granted access to classified

information may not confirm or deny classified information that appears in the public domain. Prior

to any attempt by the Defense to have such information confirmed or denied at trial or in any public

proceeding in this case, the Defense must comply with the notification requirements of Section 5

of CIPA and all provisions of this Order.

       9.      In the event that classified information enters the public domain, the Defense is

precluded from making private or public statements where the statements would reveal personal

knowledge from non-public sources regarding the classified status of the information, or would

disclose that the Defense had personal access to classified information confirming, contradicting,

or otherwise relating to the information already in the public domain. If there is any question as to

whether information is classified, the Defense must handle that information as though it is classified

unless counsel for the Government confirms that it is not classified.

                                        Security Procedures

       10.     In accordance with the provisions of CIPA and the Security Procedures, the Court

has designated Daniella Medel as the CISO and Daniel Hartenstine, Matthew W. Mullery, Carli

Rodriguez-Feo, Harry Rucker, and W. Scooter Slade, as alternate CISOs for this case, for the

purpose of providing security arrangements necessary to protect against unauthorized disclosure of


                                                   5
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 6 of 15




any classified information that has been made available to the Defense in connection with this case.

The Defense shall seek guidance from the CISO with regard to appropriate storage, handling,

transmittal, and use of classified information.

       11.     The Government has advised the Court that Assistant Special Counsels Andrew

DeFilippis, Michael Keilty, Jonathan Algor, and Neeraj Patel, and U.S. Department of Justice

National Security Division attorney Adam Small, as well as their supervisors (“counsel for the

Government”), have the security clearances allowing them to have access to classified information

that counsel for the Government intend to use, review, or disclose in this case.

       12.     The Court has been advised, through the CISO, that the Defense team members Sean

M. Berkowitz, Michael S. Bosworth, Natalie Hardwick Rao, Sarah Grimsdale, and Alison Korman,

have been determined to be eligible for interim security clearances 2 permitting them to have access

to the classified information that counsel for the Government intend to use and disclose pursuant to

this Order. Further, the Court has been advised that Defense team members Catherine Yao and

Faust Petkovich are in the process of obtaining the relevant security clearances.

       13.     Protection of Classified Information. The Court finds that to protect the classified

information involved in this case, to the extent that the Defense team members have the requisite

security clearances and a "need-to-know" the classified information, they shall be given authorized

access to classified national security documents and information as required by the Government's




2
  Defense team members have yet to be read into all programs required to access information in this
matter. The CISO will work with the parties to ensure that the Defense team members receive any
requisite additional clearances prior to review of any information for which additional programs
are applicable.
                                                 6
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 7 of 15




discovery obligations and subject to the terms of this Protective Order, the requirements of CIPA,

the Memorandum of Understanding attached hereto, and any other Orders of this Court.

       14.     As set forth in the Government's motion, the Defendant has a continuing contractual

obligation to the Government not to disclose to any unauthorized person classified information

known to him or in his possession. The Government is entitled to enforce that agreement to maintain

the confidentiality of classified information. Moreover, the Defendant must sign the Memorandum

of Understanding. In addition, the Defendant is subject to this Court's authority, contempt powers,

and other authorities, and shall fully comply with the nondisclosure agreements he has signed, this

Order, the Memorandum of Understanding, and applicable statutes.

       15.     The signed original Memorandum of Understanding shall be filed with the Court

under seal, and executed copies of the Memorandum of Understanding shall be served upon the

CISO and the Government. The substitution, departure, or removal for any reason from this case of

counsel for the Defendant or any other member of the Defense team, shall not release that individual

from the provisions of this Order or the Memorandum of Understanding executed in connection

with this Order.

       16.     Pursuant to Section 4 of the security procedures promulgated pursuant to CIPA, no

court personnel required by this Court for its assistance shall have access to classified information

involved in this case unless that person shall first have received the necessary security clearance as

determined by the CISO.

       17.     Any additional persons whose assistance the Defense reasonably requires may only

have access to classified information in this case if they are granted an appropriate security

clearance through the CISO, obtain approval from this Court with prior notice of the identity of the


                                                  7
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 8 of 15




additional persons to the U.S. Government agency that originated the information, and satisfy the

other requirements described in this Order for access to classified information.

       18.     An individual with a security clearance and a need-to-know as determined by any

Government entity is not automatically authorized to disclose any classified information to any

other individual, even if that other individual also has a security clearance. Rather, any individual

who receives classified information may only disclose that information to an individual who has

been determined by an appropriate Government entity to have both the required security clearance

and a need-to-know the information.

       19.     Secure Area for the Defense. The Court is informed that the CISO has arranged for

an approved Secure Area that has been accredited by the U.S. Intelligence Community for use by

the Defense. The CISO shall establish procedures to assure the Secure Area is accessible during

business hours to the Defense, and at other times upon reasonable request as approved by the CISO

in consultation with the United States Marshals Service. The Secure Area shall contain a separate

working area for the Defense and will be outfitted with any secure office equipment requested by

the Defense that is reasonable and necessary to the preparation of the defense. The CISO, in

consultation with counsel for the Defendant, shall establish procedures to assure that the Secure

Area may be maintained and operated in the most efficient manner consistent with the protection

of classified information and in compliance with accreditation requirements. No classified

documents, material, recordings, or other information may be removed from the Secure Area unless

so authorized by the CISO. Subject to the prior authorization of the CISO, the Defense shall be

permitted to bring materials into the Secure Area for use in its work, and the Defense shall be

permitted to remove unclassified materials from the Secure Area, including its unclassified notes


                                                 8
          Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 9 of 15




and other work product, subject to inspection by the CISO. The CISO shall not reveal to the

Government the content of any conversations she may hear among the Defense, nor reveal the

nature of the documents being reviewed, or the work being generated. The presence of the CISO

shall not operate to render inapplicable the attorney-client privilege or any other applicable

privileges or related protections.

        20.    Filing of Papers by the Defense. Any pleading or other document filed by the

Defense that counsel for the Defendant knows or reasonably should know contains classified

information as defined in paragraph 2(a), shall be filed as follows:

               a.      The document shall be filed under seal with the CISO or an appropriately

cleared designee and shall be marked, “Filed in Camera and Under Seal with the Classified

Information Security Officer.” The time of physical submission to the CISO or an appropriately

cleared designee shall be considered the date and time of filing and should occur no later than 4:00

p.m. Within a reasonable time after making a submission to the CISO, the Defense shall file on the

public record in the CM/ECF system a “Notice of Filing” notifying the Court that the submission

was made to the CISO. The notice should contain only the case caption and an unclassified title of

the filing.

               b.       The CISO shall promptly consult with representatives of the appropriate

agencies to determine whether the pleading or document contains classified information. If it is

determined that the pleading or document contains classified information, the CISO shall ensure

that the pleading or document is marked with the appropriate classification markings and that the

pleading or document remains under seal. The CISO shall immediately deliver under seal to the




                                                 9
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 10 of 15




Court and counsel for the Government any pleading or document to be filed by the Defense that

contains classified information, unless the pleading or document is an ex parte filing.

        21.     Filing of Papers by the Government. Any pleading or other document filed by the

Government that counsel for the Government knows or reasonably should know contains classified

information as defined in paragraph 2(a), shall be filed as follows:

                a.       The document shall be filed under seal with the CISO or an appropriately

cleared designee and shall be marked, “'Filed in Camera and Under Seal with the Classified

Information Security Officer.” The time of physical submission to the CISO or an appropriately

cleared designee shall be considered the date and time of filing and should occur no later than 4:00

p.m. Within a reasonable time after making a submission to the CISO, counsel for the Government

shall file on the public record in the CM/ECF system a “Notice of Filing” notifying the Court that

the submission was made to the CISO. The notice should contain only the case caption and an

unclassified title of the filing.

                b.       The CISO shall ensure the document is marked with the appropriate

classification marking and remains under seal. The CISO shall immediately deliver under seal to

the Court and counsel for the Defense any pleading or document to be filed by the Government that

contains classified information, unless the pleading or document is an ex parte filing.

        22.     Record and Maintenance of Classified Filings. The CISO shall maintain a separate

sealed record for those materials which are classified. The CISO shall be responsible for

maintaining the secured records for purposes of later proceedings or appeal.

        23.     The Classified Information Procedures Act. Procedures for public disclosure of

classified information in this case shall be those established by CIPA. The Defense shall comply


                                                 10
        Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 11 of 15




with the requirements of CIPA Section 5 prior to any disclosure of classified information during

any proceeding in this case. As set forth in Section 5, the Defense shall not disclose any information

known or believed to be classified in connection with any proceeding until notice has been given

to counsel for the Government and until the Government has been afforded a reasonable opportunity

to seek a determination pursuant to the procedures set forth in CIPA Section 6, and until the time

for the Government to appeal any adverse determination under CIPA Section 7 has expired or any

appeal under Section 7 by the Government is decided. Pretrial conferences involving classified

information shall be conducted in camera in the interest of the national security, be attended only

by persons granted access to classified information and a need-to-know, and the transcripts of such

proceedings shall be maintained under seal.

       24.     Access to Classified Information. In the interest of the national security,

representatives of the Defense granted access to classified information shall have access to

classified information only as follows:

               a.      All classified information produced by the Government to counsel for the

Defendant in discovery or otherwise, and all classified information possessed, created or maintained

by the Defense, including notes and any other work product, shall be stored, maintained and used

only in the Secure Area established by the CISO, unless otherwise authorized by the CISO.

               b.      Special procedures for audio recordings. Any classified audio recordings

that the Government discloses to the Defense shall be maintained by the CISO in the Secure Area.

Such recordings may only be reviewed on a stand-alone, non-networked computer or other device

within the Secure Area that does not have the capability to duplicate or transmit information. The




                                                 11
         Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 12 of 15




Defense must use headphones to review such recordings and the headphones must be wired and not

have any wireless capability.

               c.      The Defense shall have free access to the classified information made

available to them in the Secure Area established by the CISO and shall be allowed to take notes and

prepare documents with respect to those notes.

               d.      No representative of the Defense (including, but not limited to, counsel,

investigators, paralegals, translators, experts and witnesses) shall copy or reproduce any classified

information in any manner or form, except with the approval of the CISO and in accordance with

the procedures established by the CISO for the operation of the Secure Area.

               e.      All documents prepared by the Defense (including, without limitation,

pleadings or other documents intended for filing with the Court) that do or may contain classified

information must be prepared in the Secure Area on word processing equipment approved by the

CISO. All such documents and any associated materials (such as notes, drafts, copies, typewriter

ribbons, magnetic recordings, exhibits, thumb drives, discs, CDs, DVDs exhibits, and electronic or

digital copies) that may contain classified information shall be maintained in the Secure Area unless

and until the CISO determines those documents or associated materials are unclassified in their

entirety. None of these materials shall be disclosed to counsel for the Government or any other

party.

               f.      The Defense shall discuss classified information only within the Secure Area

or in an area authorized by the CISO.

               g.      The Defense shall not disclose, without prior approval of the Court,

classified information to any person not named in this Order except to the Court, Court personnel,


                                                 12
        Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 13 of 15




and Government personnel identified by the CISO as having the appropriate clearances and the

need-to-know. Counsel for the Government shall be given an opportunity to be heard in response

to any Defense request for disclosure to a person not identified in this Order. Any person approved

by this Court for access to classified information under this paragraph shall be required to obtain

the appropriate security clearance, to sign and submit to this Court the Memorandum of

Understanding appended to the Order, and to comply with all the terms and conditions of the Order.

If preparation of the Defense requires that classified information be disclosed to persons not named

in this Order, the Department of Justice shall promptly seek to obtain security clearances for them

at the request of Defense counsel. As set forth above, the Defense shall not disclose classified

information, even to an individual with the appropriate security clearance, without following the

procedure referenced in paragraph 17.

               h.     The Defense shall not discuss classified information over any standard

commercial telephone instrument or office intercommunication systems, including but not limited

to the Internet and electronic mail (“email”), or in the presence of any person who has not been

granted access to classified information by the Court.

               i.     Any documents written by the Defense that do or may contain classified

information shall be transcribed, recorded, typed, duplicated, copied, or otherwise prepared only by

persons who have received an appropriate approval for access to classified information.

       25.     Any unauthorized disclosure or mishandling of classified information may

constitute violations of federal criminal law. In addition, any violation of the terms of this Order

shall be brought immediately to the attention of the Court and may result in a charge of contempt

of Court and possible referral for criminal prosecution. Any breach of this Order may also result in


                                                13
        Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 14 of 15




termination of an individual's access to classified information. Persons subject to this Order are

advised that direct or indirect unauthorized disclosure, retention or handling of classified documents

or information could cause serious damage, and in some cases exceptionally grave damage to the

national security of the United States, or may be used to the advantage of a foreign nation against

the interests of the United States. The purpose of this Order is to ensure that those authorized to

receive classified information in connection with this case will never divulge that information to

anyone not authorized to receive it.

       26.     All classified documents and information to which the Defense has access in this

case are now and will remain the property of the United States. Upon demand of the CISO, all

persons shall return to the CISO all classified information in their possession obtained through

discovery from the Government in this case, or for which they are responsible because of access to

classified information. The notes, summaries, and other documents prepared by the Defense that

do or may contain classified information shall remain at all times in the custody of the CISO for the

duration of the case. At the conclusion of this case, including any appeals or ancillary proceedings

thereto, all such notes, summaries, and other documents are to be destroyed by the CISO in the

presence of counsel for the Defendant if they choose to be present.

       27.     Nothing contained in this Order shall be construed as a waiver of any right of the

Defendant. No admission made by the Defendant or his counsel during pretrial conferences may be

used against the Defendant unless it is in writing and signed by the Defendant. See CIPA § 2.

       28.     A copy of this Order shall be issued forthwith to the Defense, and counsel for the

Defendant shall be responsible for advising the Defendant and representatives of the Defense

regarding the contents of this Order. Counsel for the Defendant, the Defendant, and any other


                                                 14
        Case 1:21-cr-00582-CRC Document 25 Filed 11/04/21 Page 15 of 15



representatives of the Defense who will be provided access to the classified information, shall

execute the Memorandum of Understanding described in paragraph 15 of this Order, and the

Defendant and counsel for the Defendant shall file executed originals of such documents with

the Court and the CISO and serve an executed original upon the Government. The execution and

filing of the Memorandum of Understanding is a condition precedent for the Defendant, counsel

for the Defendant and any other representative of the Defense to have access to classified

information.




SO ORDERED.




Dated: November 4, 2011                     THE HONORABLE CHRISTOPHER R. COOPER
                                            United States District Judge




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